 Case 2:19-cv-02874-SVW-MAA Document 14 Filed 05/17/19 Page 1 of 4 Page ID #:48




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 10      Attorneys for Plaintiff and the Classes
 11
                        IN THE UNITED STATES DISTRICT COURT
 12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 13
1.14
2.       Lee Wigod, individually and on behalf          Case No. 2:19-cv-02874-SVW-MAA
 15
         of all others similarly situated,
 16                                                     NOTICE OF UNOPPOSED
3.                           Plaintiff,                 MOTION AND UNOPPOSED
 17
                                                        MOTION FOR EXTENSION OF
4.18     v.                                             TIME FOR PLAINTIFF TO
                                                        MOVE FOR CLASS
 19
5.       CallFire, Inc., a Delaware corporation,        CERTIFICATION
 20
                             Defendant.                 Date: June 17, 2019
 21
                                                        Time: 1:30 p.m.
 22                                                     Judge: Stephen V. Wilson
                                                        Courtroom: 10A
 23
                                                        Complaint Filed: April 15, 2019
6.24                                           7.
 25            PLEASE TAKE NOTICE that on Monday, June 17, 2019 at 1:30 p.m., or as
 26      soon thereafter as counsel may be heard, counsel for Plaintiff Lee Wigod
 27
         UNOPPOSED MOTION FOR EXTENSION             1
 28      OF TIME FOR PLAINTIFF TO MOVE FOR
         CLASS CERTIFICATION
Case 2:19-cv-02874-SVW-MAA Document 14 Filed 05/17/19 Page 2 of 4 Page ID #:49




 1   (“Plaintiff” or “Wigod”) shall appear before the Honorable Stephen V. Wilson or
 2   any judge sitting in his stead in Courtroom 10A of the United States District Court
 3   for the Central District of California, 350 W. 1st Street, Los Angeles, California
 4   90012 and present Plaintiff’s Unopposed Motion for Extension of Time to Move for
 5   Class Certification. In support of this motion Plaintiff states as follows:
 6         1.     Plaintiff filed the instant lawsuit on April 15, 2019. (Dkt. 1)
 7         2.     On April 29, 2019, Defendant CallFire, Inc. (“Defendant” or
 8   “CallFire”) was served.
 9         3.     Under Local Rule 23-3, Plaintiff must move for class certification
10   within ninety (90) days after serving the Complaint.
11         4.     Therefore, Plaintiff’s motion for class certification is currently due on
12   July 29, 2019.
13         5.     The class certification deadline may be moved by Order of the Court.
14   See L.R. 23-3.
15         6.     Plaintiff respectfully requests a six (6) month extension of the deadline
16   to file his motion for class certification.
17         7.     Additional time is required—Defendant has not yet responded to
18   Plaintiff’s Complaint and no discovery has begun. Here, Plaintiff anticipates that a
19   considerable portion of the evidence relevant to the class certification inquiry is
20   presently in Defendant’s possession.
21         8.     Plaintiff’s counsel conferred with counsel for Defendant, who advised
22   that Defendant does not oppose this Motion.
23         WHEREFORE, Plaintiff respectfully requests that the Court enter an Order
24   extending the deadline for Plaintiff to move for class certification by six months
25   until January 28, 2020.
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     UNOPPOSED MOTION FOR EXTENSION                2
28   OF TIME FOR PLAINTIFF TO MOVE FOR
     CLASS CERTIFICATION
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 1                                       Respectfully submitted,
 2
 3   Dated: May 17, 2019                 LEE WIGOD, individually and on behalf of
                                         all others similarly situated,
 4
 5
                                         By: /s/ Steven L. Woodrow
 6                                              One of Plaintiff’s Attorneys
 7
                                         THE AFTERGOOD LAW FIRM
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                                         Attorneys for Plaintiff and the Class
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17                                       * Pro Hac Vice
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     UNOPPOSED MOTION FOR EXTENSION         3
28   OF TIME FOR PLAINTIFF TO MOVE FOR
     CLASS CERTIFICATION
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 1                            CERTIFICATE OF SERVICE
 2         The undersigned, Steven L. Woodrow, hereby certifies that a true and correct
 3   copy of the above papers was served upon counsel of record by filing such papers
 4   via the Court’s ECF system on May 17, 2019.
 5
                                          /s/ Steven L. Woodrow
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     UNOPPOSED MOTION FOR EXTENSION          4
28   OF TIME FOR PLAINTIFF TO MOVE FOR
     CLASS CERTIFICATION
